LOUISVILLE VENEER MILLS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Louisville Veneer Mills v. CommissionerDocket No. 10180.United States Board of Tax Appeals12 B.T.A. 1352; 1928 BTA LEXIS 3352; July 16, 1928, Promulgated *3352  The statute of limitations prescribed by the Revenue Act of 1921 is applicable to a return filed for the fiscal year ending in 1921, although filed prior to the passage of the 1921 Act, where the taxpayer is subjected to no additional tax under the provisions of that Act for such fiscal year.  R. S. McGlassen, C.P.A., for the petitioner.  Harry LeRoy Jones, Esq., for the respondent.  VAN FOSSAN *1352  This is a proceeding for the redetermination of the income taxes for the fiscal year ended June 30, 1921, as to which the Commissioner has determined a deficiency of $489.30.  It is alleged that the deficiency is barred by the statute of limitations.  All of the material allegations of fact contained in the petition are admitted by the answer and the case is submitted upon the pleadings and argument of the parties.  At the hearing the Commissioner moved that the appeal be dismissed on the ground that the facts as alleged and admitted are insufficient to sustain the error alleged.  FINDINGS OF FACT.  The petitioner is a Kentucky corporation, having its principal office at Louisville, Ky.On September 14, 1921, petitioner filed with the collector*3353  of internal revenue its income and profits-tax return, on Form 1120, for the fiscal year ending June 30, 1921, showing a net income subject to normal tax of $23,822.17.  No other or additional income-tax return for the fiscal year ending June 30, 1921, was filed by the petitioner.  On November 25, 1925, the respondent mailed to the petitioner the 60-day notice of a deficiency in income tax for the fiscal year ending June 30, 1921, in the sum of $489.30.  No assessment of any deficiency for said fiscal year has been made.  No part of said deficiency is due to any differences between the Revenue Act of 1921 and the Revenue Act of 1918.  The Revenue Act of 1921 imposed no additional tax upon the petitioner for the fiscal year ending June 30, 1921.  OPINION.  VAN FOSSAN: The only question presented in this case is whether the statute of limitations prescribed by the Revenue Act of 1918 or the statute of limitations prescribed by the Revenue Act of 1921 controls the assessment and collection of the deficiency.  The Revenue *1353  Act of 1921 was passed November 23, 1921, and the return in this case was filed September 14, 1921.  It is contended by the respondent that, since the*3354  return was filed prior to the passage of the 1921 Act, it could not be a return under that Act and consequently it must necessarily be a return under the 1918 Act and controlled by the statute of limitations prescribed in the latter Act.  The Board has already considered this question in a number of cases and decided the same adversely to the contention of the respondent.  ; ; ; ; and . Under the authority of those cases we hold that the statute of limitations prescribed by the Revenue Act of 1921 is applicable to the return filed by this petitioner for the fiscal year ending June 30, 1921, and, since the deficiency letter was mailed more than four years after the filing of the return, that the assessment and collection of the deficiency is barred.  Accordingly, there is no deficiency.  The motion of the respondent made at the hearing is denied.  Judgment of no deficiency will be entered for the petitioner.